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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

CIVIL ACTION
NO. 05-4182 “K”(2)

IN RE KATRINA CANAL BREACHES §
§
§ JUDGE DUVAL
§
§

CONSOLIDATED LITIGATION

MAG. WILKINSON

PERTAINS TO: .
LEVEE: LEVEE, MRGO, RESPONDER:
Adams, Cathy 06-4065 O’ Dwyer 06-4389
Gordon 06-5163 NOT YET DESIGNATED:

Williams, E. 06-5471
ORDER

CONSIDERING THE FOREGOING, it is Ordered that Mat M. Gray, TH, Alanson T.
Chenault, and Fowler Rodriguez be enrolled as additional counsel for Eustis Engineering
Company, Inc. in the captioned matter.

New Orleans, Louisiana, this day of January, 2007.

JUDGE
